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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA

 KATHRYN MCDANIEL,

                            Plaintiff,
 v.
                                                        Case No. CIV-20-1278-R
 LEGEND ENERGY SERVICES, LLC,

                            Defendant.


      SUGGESTION OF BANKRUPTCY AND NOTICE OF AUTOMATIC STAY

        Defendant Legend Energy Services, LLC (“Defendant”), files this its Suggestion

of Bankruptcy and Notice of Automatic Stay.        A Chapter 7 Petition was filed by

Defendant, in the U.S. Bankruptcy Court, Eastern District of Texas, Case No. 21-60451,

on October 26, 2021. The automatic stay provisions of Section 362 of the Bankruptcy

Code apply to these proceedings.

Dated: October 26, 2021                  Respectfully submitted,


                                         /s/Anh Kim Tran
                                         Sam R. Fulkerson, OBA # 14370
                                         Anh Kim Tran, OBA #21384
                                         OGLETREE, DEAKINS, NASH, SMOAK &
                                         STEWART, P.C.
                                         The Heritage Building
                                         621 N. Robinson Ave., Suite 400
                                         Oklahoma City, Oklahoma 73102
                                         Telephone: 405-546-3774
                                         Facsimile: 405-546-3775
                                         sam.fulkerson@ogletree.com
                                         kim.tran@ogletree.com
                                         Attorneys for Defendant
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                            CERTIFICATE OF SERVICE

       I hereby certify that on October 26, 2021, I electronically transmitted the

foregoing document to the Clerk of Court using the ECF system for filing and transmittal

of a Notice of Electronic Filing to the following ECF registrants:

       Katherine Mazaheri
       Mary Rahimi
       Mazaheri Law Firm, PLLC
       3000 W. Memorial Rd., Suite 230
       Oklahoma City, OK 73120
       katherine@mazaherilaw.com
       mary@mazaherilaw.com
       Attorneys for Plaintiff

                                           /s/ Anh Kim Tran
                                            Anh Kim Tran


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